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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO

DANILO BURGESS,

       Plaintiff,

v.                                                                No. 2:23-cv-00048-MIS-GBW

SAPUTO CHEESE USA, INC.

       Defendants.

                                      FINAL JUDGMENT

       Pursuant to Federal Rule of Civil Procedure 58(a), and consistent with the Court’s Order,

ECF No. 37, the Court issues its separate judgment finally disposing of this civil case.

       IT IS HEREBY ORDERED that all claims in this case are DISMISSED WITH

PREJUDICE.




                                                     ………………………………………….
                                                     MARGARET STRICKLAND
                                                     UNITED STATES DISTRICT JUDGE




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